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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 David E. Mack,                                   )
                                                  )
                Plaintiff,                        )
                                                  )
        v.                                        )           NO. 4:18-cv-00006-ALM-CAN
                                                  )
 Experian Information Solutions, Inc.;            )
 Trans Union LLC; Equifax, Inc.,                  )           JURY TRIAL DEMANDED
                                                  )
                Defendants.                       )
                                                  )

                      EXPERIAN INFORMATION SOLUTIONS, INC.’S
                        ANSWER AND AFFIRMATIVE DEFENSES

        Defendant Experian Information Solutions, Inc. (“Experian”), by and through its

 undersigned counsel, answers Plaintiff David E. Mack’s Complaint (“Complaint”) as follows:

                                          JURISDICTION

        1.      In response to paragraph 1 of the Complaint, Experian admits that Plaintiff has

 alleged jurisdiction based on the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq., and 28

 U.S.C. § 1331. Experian states that this is a legal conclusion that is not subject to denial or

 admission.

        2.      In response to paragraph 2 of the Complaint, Experian states that this is a legal

 conclusion that is not subject to denial or admission. To the extent a response is required,

 Experian is without knowledge or information sufficient to form a belief as to the truth of the

 allegations contained in paragraph 2 of the Complaint and, on that basis, denies, generally and

 specifically, each and every allegation contained therein.
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                                               PARTIES

        3.      In response to paragraph 3 of the Complaint, Experian admits that Plaintiff is

 David E. Mack. As to the remaining allegations contained in paragraph 3, Experian is without

 knowledge or information sufficient to form a belief as to the truth of the allegations contained

 therein and, on that basis, denies, generally and specifically, each and every allegation contained

 therein.

        4.      In response to paragraph 4 of the Complaint, Experian admits that it has corporate

 offices in Costa Mesa, California. Experian further admits that it is a consumer reporting agency

 as defined by 15 U.S.C. § 1681a(f).

        5.      In response to paragraph 5 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        6.      In response to paragraph 6 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

                                                VENUE

        7.      In response to paragraph 7 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        8.      In response to paragraph 8 of the Complaint, Experian admits that Plaintiff has

 alleged venue in this district is proper. Experian states that this is a legal conclusion that is not

 subject to denial or admission.




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                                   GENERAL ALLEGATIONS

        9.      In response to paragraph 9 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        10.     In response to paragraph 10 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        11.     In response to paragraph 11 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        12.     In response to paragraph 12 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        13.     In response to paragraph 13 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        14.     In response to paragraph 14 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        15.     In response to paragraph 15 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.




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        16.     In response to paragraph 16 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        17.     In response to paragraph 17 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        18.     In response to paragraph 18 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        19.     In response to paragraph 19 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        20.     In response to paragraph 20 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        21.     In response to paragraph 21 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        22.     In response to paragraph 22 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.




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        23.     In response to paragraph 23 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        24.     In response to paragraph 24 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        25.     In response to paragraph 25 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein. As to

 whether certain information was required to be disclosed under 15 U.S.C. § 1681g(a)(1),

 Experian states that this is a legal conclusion that is not subject to denial or admission.

        26.     In response to paragraph 26 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        27.     In response to paragraph 27 of the Complaint, Experian is without knowledge or

 information sufficient to form a belief as to the truth of the allegations contained therein and, on

 that basis, denies, generally and specifically, each and every allegation contained therein.

        28.     In response to paragraph 28 of the Complaint, Experian denies, generally and

 specifically, each and every allegation contained therein.

        29.     In response to paragraph 29 of the Complaint, Experian denies, generally and

 specifically, each and every allegation contained therein that relates to Experian’s liability under

 the Fair Credit Reporting Act. As to the allegations in paragraph 29 of the Complaint that relate

 to requests made to the other defendants, Experian does not have knowledge or information




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 sufficient to form a belief as to the truth of those allegations and, on that basis, denies, generally

 and specifically, each and every remaining allegation of paragraph 29 of the Complaint.

        30.     In response to paragraph 30 of the Complaint, Experian states that the allegations

 contained therein are legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 30 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.

                                               COUNT I

  VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681, WILLFUL
   NON-COMPLIANCE BY DEFENDANT EXPERIAN INFORMATION SOLUTIONS
                                 INC.

        31.     In response to paragraph 31, Experian incorporates by reference all of the above

 paragraphs of this Answer as though fully stated herein.

        32.     In response to paragraph 32 of the Complaint, Experian states that the allegations

 of paragraph 32 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 32 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.

        33.     In response to paragraph 33 of the Complaint, Experian admits that it is a

 consumer reporting agency as defined by 15 U.S.C. § 1681a(f).

        34.     In response to paragraph 34 of the Complaint, Experian states that the allegations

 of paragraph 34 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian denies, generally and specifically, each and every allegation

 contained therein.




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        In response to the first unnumbered paragraph on page 6 of the Complaint beginning

 “WHEREFORE,” Experian denies, generally and specifically, that Plaintiff is entitled to

 judgment against or any relief whatsoever from Experian.

                                             COUNT II

  VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681, WILLFUL
             NON-COMPLIANCE BY DEFENDANT TRANS UNION LLC

        35.     In response to paragraph 35, Experian incorporates by reference paragraphs 1

 through 30 of this Answer as though fully stated herein.

        36.     In response to paragraph 36 of the Complaint, Experian states that the allegations

 of paragraph 36 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 36 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.

        37.     In response to paragraph 37 of the Complaint, Experian states that the allegations

 of paragraph 37 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 37 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.

        38.     In response to paragraph 38 of the Complaint, Experian states that the allegations

 of paragraph 38 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 38 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.




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        In response to the second unnumbered paragraph on page 6 of the Complaint beginning

 “WHEREFORE”, Experian is without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in that paragraph and, on that basis, denies, generally and

 specifically, each and every allegation contained therein.

                                             COUNT III

  VIOLATION OF THE FAIR CREDIT REPORTING ACT, 15 U.S.C. § 1681, WILLFUL
               NON-COMPLIANCE BY DEFENDANT EQUIFAX, INC.

        39.     In response to paragraph 39, Experian incorporates by reference paragraphs 1

 through 30 of this Answer as though fully stated herein.

        40.     In response to paragraph 40 of the Complaint, Experian states that the allegations

 of paragraph 40 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 40 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.

        41.     In response to paragraph 41 of the Complaint, Experian states that the allegations

 of paragraph 41 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 41 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.

        42.     In response to paragraph 42 of the Complaint, Experian states that the allegations

 of paragraph 42 contain legal conclusions not subject to admission or denial. To the extent a

 response is required, Experian is without knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in paragraph 42 of the Complaint and, on that basis,

 denies, generally and specifically, each and every allegation contained therein.



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        In response to the unnumbered paragraph on page 7 of the Complaint beginning

 “WHEREFORE”, Experian is without knowledge or information sufficient to form a belief as to

 the truth of the allegations contained in that paragraph and, on that basis, denies, generally and

 specifically, each and every allegation contained therein.

                               DEMAND FOR A TRIAL BY JURY

        43.     Experian admits that Plaintiff has demanded trial by jury on all triable issues.

                                   AFFIRMATIVE DEFENSES

        In further response to Plaintiff’s Complaint, Experian hereby asserts the following

 affirmative defenses, without conceding that it bears the burden of persuasion as to any of them.

                                FIRST AFFIRMATIVE DEFENSE
                                (FAILURE TO STATE A CLAIM)

        Each cause of action in the Complaint fails to set forth facts sufficient to state a claim

 upon which relief may be granted against Experian and further fails to state facts sufficient to

 entitle Plaintiff to the relief sought, or to any other relief whatsoever from Experian.

                              SECOND AFFIRMATIVE DEFENSE
                                      (IMMUNITY)

        All claims against Experian are barred by the qualified immunity of 15 U.S.C.

 § 1681h(e).

                             THIRD AFFIRMATIVE DEFENSE
                          (TRUTH/ACCURACY OF INFORMATION)

        All claims against Experian are barred because all information Experian communicated

 to any third person regarding Plaintiff was true.




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                              FOURTH AFFIRMATIVE DEFENSE
                                   (INDEMNIFICATION)

        Experian is informed and believes and thereon alleges that any purported damages

 allegedly suffered by Plaintiff are the results of the acts or omissions of third persons over whom

 Experian had neither control nor responsibility.

                               FIFTH AFFIRMATIVE DEFENSE
                             (FAILURE TO MITIGATE DAMAGES)

        Plaintiff has failed to mitigate his damages.

                                SIXTH AFFIRMATIVE DEFENSE
                                         (LACHES)

        Each cause of action and claim for relief in the Complaint is barred by laches.

                            SEVENTH AFFIRMATIVE DEFENSE
                         (CONTRIBUTORY/COMPARATIVE FAULT)

        Experian is informed and believes and thereon alleges that any alleged damages sustained

 by Plaintiff were, at least in part, caused by the actions of Plaintiff himself and/or third parties

 and resulted from Plaintiff’s or third parties’ own negligence that equaled or exceeded any

 alleged negligence or wrongdoing by Experian.

                               EIGHTH AFFIRMATIVE DEFENSE
                                       (ESTOPPEL)

        Any damages that Plaintiff may have suffered, which Experian denies, were the direct

 and proximate result of the conduct of Plaintiff. Therefore, Plaintiff is estopped and barred from

 recovery of any damages.

                                NINTH AFFIRMATIVE DEFENSE
                                 (STATUTE OF LIMITATIONS)

        All claims for relief in the Complaint are barred by the applicable statutes of limitation,

 including but not limited to 15 U.S.C. § 1681p.




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                              TENTH AFFIRMATIVE DEFENSE
                                   (UNCLEAN HANDS)

        Each claim for relief in the Complaint that seeks equitable relief is barred by the doctrine

 of unclean hands.

                          ELEVENTH AFFIRMATIVE DEFENSE
                      (RIGHT TO ASSERT ADDITIONAL DEFENSES)

        Experian reserves the right to assert additional affirmative defenses at such time and to

 such extent as warranted by discovery and the factual developments in this case.

                                        PRAYER FOR RELIEF

        Experian therefore requests:

        (1)    That Plaintiff take nothing by virtue of the Complaint and that this action be

               dismissed in its entirety with prejudice;

        (2)    That costs of suit and attorneys’ fees be awarded to Experian; and

        (3)    For such other and further relief as the Court may deem just and proper.



 Dated: January 25, 2018                          Respectfully submitted,



                                                    /s/ Richard J. Johnson
                                                  Richard J. Johnson
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                                                  (pro hac vice forthcoming)
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                                       javogt@jonesday.com

                                       Attorneys for Defendant
                                       Experian Information Solutions, Inc.




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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on January 25, 2018.

        I further certify that I caused a copy of the foregoing document and a copy of the notice

 of electronic filing to be mailed by first-class mail, postage paid, to the following non-ECF

 participant on January 25, 2018:

                David E. Mack
                7720 McCallum Blvd No. 2099
                Dallas, TX 75252


                                                   /s/ Richard J. Johnson
                                                  Richard J. Johnson




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